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15                         UNITED STATES DISTRICT COURT
16
                          CENTRAL DISTRICT OF CALIFORNIA
                                WESTERN DIVISION
17

18
                                                CASE NO.:
19 Vanessa Long , individually and on
      behalf of all others similarly situated
20 Plaintiff,                   CLASS ACTION COMPLAINT
                                PURSUANT TO THE SHERMAN
21      vs.                     AND CLAYTON ACTS (15 U.S.C. §§
                                1, 26); AND THE CARTWRIGHT
22 SK ENERGY AMERICAS, INC.;    ACT AND UNFAIR COMPETITION
   SK TRADING INTERNATIONAL CO. LAW (CAL. BUS. & PROF. CODE §§
23 LTD; AND VITOL INC.,         16720 ET SEQ. AND 17200 ET SEQ.)
24                 Defendants.                  DEMAND FOR JURY TRIAL
25

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 1          Plaintiff Vanessa Long (“Plaintiff” ) on behalf of herself and all others
 2 similarly situated, brings this class action for treble damages and equitable relief

 3 against Defendants Vitol Inc. (“Vitol”), SK Energy Americas, Inc. (“SK Energy”),

 4 and SK Trading International Co. Ltd. (“SK Trading”) (collectively “Defendants”)

 5 for violations of Section 1 of the Sherman Act (15 U.S.C. §§ 1, 2, 3), the California

 6 Cartwright Act (Cal. Bus. & Prof. Code §§16720 et seq., and the California Unfair

 7 Competition Law, Cal. Bus. & Prof. Code §§ 17200 et seq. (“UCL”).

 8                               I.    INTRODUCTION
 9          1.    In February 2015, an explosion occurred at a large ExxonMobil gas
10 refinery located in Torrance, California. A key section of the refinery complex was

11 heavily damaged, resulting in a disruption in refining capacity which created an

12 under supply of refined gasoline in California. At the time of the explosion, the

13 refinery supplied approximately twenty percent of the gasoline sold in Southern

14 California and ten percent state-wide.1

15          2.    Defendants—major traders in the California spot market for gasoline
16 and gasoline blending products—along with certain of their employees, capitalized

17 on the market disruption caused by the explosion to restrain competition in the spot

18 market for gasoline formulated for use in California and in certain gasoline blending

19 components used in that gasoline.

20          3.    Defendants acted unlawfully for their own profit and to the detriment
21 of gasoline purchasers throughout the state of California. Defendants conspired to

22 artificially raise the spot price of gasoline through a complex series of coordinated

23 trading activities including: (1) engaging in sham transactions to obfuscate the true

24 nature of the supply and demand dynamic in California’s gasoline market; (2)

25 trading with each other with the purpose and effect of creating spikes in the spot

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       See U.S. Chemical Safety & Hazard Investigation Board “ExxonMobil Torrance
      Refinery Investigation Report” No. 2015-02-I-CA (May 3, 20170, available at
      https://www.csb.gov/file.aspx?DocumentId=6023 at p. 8.
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 1 market price; and (3) entering into prearranged, unreported buy and sell transactions

 2 with each other to share profits from the scheme. All of these acts were committed

 3 in furtherance of an antitrust conspiracy to raise, fix, and maintain the published spot

 4 market price of gasoline, eliminate market risk, conceal the scheme, and share

 5 unlawfully gained profits.

 6          4.    Additionally, Defendants Vitol and SK Energy agreed with each other
 7 to manipulate the spot market price for refined gasoline and gasoline blending

 8 components so that they could realize windfall profits on these contracts. Defendants

 9 further entered into agreements with each other to share the profits and disguise their
10 illegal conduct.

11          5.    The restraint of trade described herein was coordinated by the lead
12 traders for both Vitol and SK Energy, who were friends and former colleagues at

13 Vitol, and it continued until late 2016, when one of the traders left his position with

14 SK Energy.

15          6.    Defendants’ conduct was effective and worked its way from the spot
16 market to the price Californians like Plaintiff paid at the pump. Gas prices in

17 California have historically been approximately 30 cents a gallon more than the

18 national average. Beginning immediately after the crisis precipitated by the Torrance

19 refinery explosion, however, Californians paid a premium of well over 50 cents over

20 the national average, and continued to do so until well after the explosion’s effects

21 on supply had dissipated.

22          7.    On May 4, 2020, Defendants’ conduct became known for the first time
23 to Plaintiff and the Class when the California Attorney General filed a partially

24 redacted complaint (“AG Complaint”) against Defendants for violations of the

25 Cartwright Act and the UCL.

26                        II.    JURISDICTION AND VENUE
27          8.    This Court has subject matter jurisdiction over this action pursuant to
28 28 U.S.C. §§ 1331 and 1337 because Plaintiffs bring this action under Sections 4


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 1 and Section 16 of the Clayton Act, 15 U.S.C. §§ 15 and 16, for violations of Sections

 2 1 and 2 of the Sherman Act, 15 U.S.C. §§ 1 and 2. 23.

 3          9.    Venue is proper in this Court under 28 U.S.C. § 1391(b), because
 4 Defendants sell gasoline throughout the State of California, including in this judicial

 5 district. The anticompetitive conduct alleged herein has been directed at, and has had

 6 the intended effect of, causing injury to persons residing in, located in, or doing

 7 business in this District.

 8                                     III.   PARTIES
 9 A.       PLAINTIFF
10          10.   Plaintiff Vanessa Long is a resident of the State of California. Plaintiff
11 Vanessa Long purchased fuel at retail prices during the Class Period defined herein

12 for her own use and not for resale.

13 B.       DEFENDANTS
14          11.   Defendant SK Energy is a California corporation with its registered
15 office at 1300 Post Oak Boulevard, Suite 425, Houston, Texas 77056. Defendant

16 SK Energy is an indirect, wholly-owned subsidiary of Defendant SK Trading.

17          12.   Defendant SK Trading is a South Korean corporation with its head
18 office at 26 Jongno, Jongno-gu, Seoul, South Korea.

19          13.   SK Trading is the indirect parent of SK Energy. SK Trading is also a
20 sister company to SK Energy Co., Ltd. (“SK Energy Korea”), the largest refiner of

21 crude oil in Korea. All of these entities are subsidiaries of SK Innovation Co., Ltd.

22 (“SK Innovation”), a publicly traded holding company headquartered at 26, Jongno,

23 Jongno-gu, Seoul, Korea. SK Trading publicly describes its subsidiary SK Energy

24 as the marketing agent for SK Energy Korea in the United States and explains that

25 SK Energy facilitates the export of SK Energy Korea’s gasoline and gasoline

26 blending products to the United States.
27          14.   SK Trading dominated and controlled SK Energy, and specifically
28 ratified the illegal conduct engaged in by SK Energy that is described herein. SK


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 1 Trading and SK Energy Korea list their headquarters at the same address as SK

 2 Innovation.

 3          15.   At all times relevant to this Complaint, Defendant SK Energy was an
 4 agent and alter ego of Defendant SK Trading, due to the nature and extent of control

 5 that SK Trading exercised over SK Energy.

 6          16.   At all times relevant to this Complaint, there existed a unity of interest
 7 and ownership between SK Energy and SK Trading such that any separateness

 8 between them had ceased to exist and SK Trading controlled, dominated, managed,

 9 and operated SK Energy. Specifically, SK Trading controlled the business and
10 affairs of SK Energy such that the distinction between the companies were mere

11 technicalities.

12          17.   Additionally, at all times relevant to this Complaint, SK Energy was
13 acting within the course and scope of its agency with the knowledge, consent,

14 permission, authorization, and ratification, either express or implied, of SK Trading

15 in performing the acts alleged in this Complaint.

16          18.   Defendant Vitol, a Delaware corporation, is an energy company with
17 its principal place of business at 2925 Richmond Avenue, 11th Floor, Houston,

18 Texas 77098. Vitol is registered with the California Secretary of State to conduct

19 business in California. Vitol and a related entity are not strangers to unlawful trading

20 conduct. The Federal Energy Regulatory Commission sued Vitol and one of its

21 traders to collect $3.75 million in fines levied against them after finding Vitol’s

22 trading activity manipulated California electricity markets.2 And Vitol S.A. was

23 fined five million Euros by French authorities for manipulating the French southern

24 gas trading point “Peg Sud” between June of 2013 and March of 2014.3

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       ECF No. 1 in Federal Energy Regulatory Comm’n v. Vitol, Inc., No. 2:20-cv-
   00040-KJM-AC
28 3                (E.D. Cal. Jan. 6, 2020).
       https://www.reuters.com/article/vitol-france-fine-gas/update-1-french-regulator-
   fines-vitol-5-mln-euros-for-gas-market-manipulation-idUSL8N1WP399.
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 1                     IV.     AGENTS AND CO-CONSPIRATORS
 2          19.   The anticompetitive and unlawful acts alleged against the Defendants
 3 in this class action complaint were authorized, ordered or performed by Defendants’

 4 respective officers, agents, employees, or representatives, while actively engaged in

 5 the management, direction, or control of Defendants’ businesses or affairs. The

 6 Attorney General for the State of California has expressly named individuals and

 7 corporate executives who were involved in the conspiracy. Plaintiffs expressly

 8 reserve the right to amend this complaint to add such individuals, as appropriate.

 9          20.   Defendants’ agents operated under the authority and apparent authority
10 of their principals.

11          21.   Defendants, through their subsidiaries, affiliates and agents operated as
12 a single unified entity.

13          22.   Various persons and/or firms not named as Defendants herein may have
14 participated as co-conspirators in the violations alleged herein and may have

15 performed acts and made statements in furtherance thereof.

16          23.   Each Defendant acted as the principal, agent or joint venture of, or for,
17 other Defendants with respect to the acts, violations, and common course of conduct

18 alleged herein.

19          24.   When Plaintiff refers to a corporate family or companies by a single
20 name in her allegations of participation in the conspiracy, it is to be understood that

21 the Plaintiff is alleging that one or more employee or agent of entities within the

22 corporate family engaged in conspiratorial acts or meetings on behalf of all of the

23 Defendant companies within that family. In fact, the individual participants in the

24 conspiratorial meetings and discussions did not distinguish among the entities within

25 a corporate family. The individual participants entered into agreements on behalf

26 of, and reported these meetings and discussions to, their respective corporate
27 families. As a result, the entire corporate family was represented in meetings and

28 discussions by their agents and were parties to the agreements reached by them.


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 1 Furthermore, to the extent that subsidiaries within corporate families distributed the

 2 alkylate products discussed in this Complaint, these subsidiaries played a significant

 3 role in the alleged conspiracy because Defendants wished to ensure that the prices

 4 paid for such products would not undercut the pricing agreements reached at these

 5 various meetings. Thus, all Defendant entities within the corporate families were

 6 active, knowing participants in the alleged conspiracy.

 7                            V.     CLASS ACTION ALLEGATIONS
 8          25.    Plaintiff brings this action for damages and injunctive relief on behalf
 9 of herself and a class action of similarly situated persons and entities pursuant to
10 Federal Rules of Civil Procedure, Rule 23(a), (b)(2) and (b)(3), which is defined as

11 follows:
                   All persons or entities that purchased gasoline from a
12                 retailer within the State of California from February 18,
                   2015 through December 31, 2016 (the “Class Period”).
13
            26.    This definition specifically excludes the following persons or entities:
14
      (a) any of the Defendants named herein; (b) any of the Defendants’ parent
15
      companies, subsidiaries, and affiliates; (c) any of the Defendants’ officers, directors,
16
      management, employees, subsidiaries, affiliates or agents; (d) all governmental
17
      entities; and (e) the judges and chambers staff in this case, as well as any members
18
      of their immediate families.
19
            27.    Plaintiff does not know the exact number of Class members. Plaintiff
20
      is informed and believes that, due to the nature of the trade and commerce involved,
21
      there are millions of Class members geographically dispersed throughout the State
22
      of California, such that joinder of all Class members in the prosecution of this action
23
      is impracticable.
24
            28.    Plaintiff’s claims are typical of the claims of her fellow Class members
25
      because Plaintiff purchased gasoline during the Class Period. Plaintiff and all Class
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      members were damaged by the same wrongful conduct of Defendants as alleged
27
      herein, and the relief sought herein is common to all members of the Class.
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 1          29.   Numerous questions of law or fact common to the entire Class—
 2 including, but not limited to those identified below—arise from Defendants’

 3 anticompetitive and unlawful conduct:

 4                a.    Whether Defendants contracted, combined or conspired with one
 5                      another to restrain trade in the spot market for gasoline at any
 6                      time during the Class Period;
 7                b.    Whether Defendants’ conduct caused the prices of gasoline sold
 8                      at retail to be higher than the competitive level as a result of their
 9                      restraint of trade;
10                c.    Whether Plaintiff and the other members of the Class were
11                      injured by Defendants’ conduct and, if so, the determination of
12                      the appropriate Class-wide measure of damages; and
13                d.    Whether Plaintiff and other members of the Class are entitled to,
14                      among other things, injunctive relief, and, if so, the nature and
15                      extent of such relief.
16          30.   These and other questions of law and fact are common to the Class and
17 predominate over any questions affecting the Class members individually.

18          31.   Plaintiff will fairly and adequately represent the interests of the Class
19 because she purchased gasoline at retail within the State of California during the

20 Class Period and she has no conflicts with any other members of the Class.

21 Furthermore, Plaintiff has retained sophisticated and competent counsel who is

22 experienced in prosecuting antitrust class actions, as well as other complex litigation.

23          32.   Defendants have acted on grounds generally applicable to the Class,
24 thereby making final injunctive relief appropriate with respect to the Class as a

25 whole.

26          33.   This class action is superior to other alternatives for the fair and
27 efficient adjudication of this controversy. Prosecuting the claims pleaded herein as

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 1 a class action will eliminate the possibility of repetitive litigation. There will be no

 2 material difficulty in the management of this action as a class action.

 3           34.    The prosecution of separate actions by individual Class members would
 4 create the risk of inconsistent or varying adjudications, establishing incompatible

 5 standards of conduct for Defendants.

 6                            VI.   FACTUAL ALLEGATIONS
 7 A.        CALIFORNIA’S GASOLINE MARKET
 8           35.    Gasoline reaches consumers through a global supply chain that begins
 9 with extracting crude oil and transporting it to refineries, mostly via pipelines,
10 marine tankers, and barges. At the refineries, crude oil is processed into gasoline

11 and other petroleum products. Refined gasoline is then transported—again, usually

12 via pipelines, marine tankers, and barges—to storage terminals for wholesale

13 distribution. From there, it is shipped by truck to retail gas stations where consumers

14 fill their tanks.       The following chart prepared by the U.S. Governmental
15 Accountability Office (“GAO”) visually depicts this supply chain:4

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25           36.    California is geographically isolated from refining hubs in the rest of
26 the United States. There are no pipelines that ship finished gasoline products into
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     4
         See https://www.gao.gov/new.items/d05525sp.pdf at p. 2.
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 1 California.   When local supplies are insufficient to meet demand in California,
 2 additional refined gasoline and gasoline blending components are typically brought

 3 into the state on marine vessels.

 4        37.    California also has vehicle emissions standards that are more stringent
 5 than other areas of the country. Gasoline produced pursuant to these standards is

 6 called California Reformulated Gasoline Blendstock for Oxygenate Blending

 7 (“CARBOB”). The CARBOB specifications are unique to California; therefore,

 8 gasoline used in neighboring states does not meet the CARBOB specification and

 9 cannot be used as a substitute source of supply.
10        38.    Most of the CARBOB consumed in California is produced by refineries
11 located in clusters near metropolitan centers in the San Francisco Bay Area and in

12 the greater Los Angeles area.

13        39.    One of the largest refineries in Southern California is located in
14 Torrance, California (the “Torrance Refinery”). The Torrance Refinery produces

15 approximately twenty percent of all of the gasoline sold in Southern California (and

16 ten percent of the statewide supply). The Torrance Refinery also has the capacity to

17 produce significant quantities of alkylate, a high- quality gasoline blending

18 component.     In 2015, the Torrance Refinery was owned by ExxonMobil Corp.
19 (“ExxonMobil”).

20        40.    When unexpected supply disruptions occur, gasoline meeting
21 California’s unique CARBOB specifications must be sourced from outside of

22 California. Deliveries can take several weeks to arrive at California’s ports.

23 B.     GASOLINE SPOT MARKET TRADING IN CALIFORNIA
24        41.    “Spot” purchases refer to fuel that physically changes hands at a
25 refinery gate or other major pricing hub for delivery on a pipeline or via barge or

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 1 cargo. Deals are always done in bulk, typically 5,000 barrels (210,000 gallons) to

 2 50,000 barrels (2.1 million gallons).5

 3        42.    There are a number of spot markets around the United States, but the
 4 two relevant to this litigation are located in San Francisco (for delivery to Northern

 5 California refineries located in the Bay Area); the other is in Los Angeles (for

 6 delivery to refineries in greater Los Angeles). The U.S. spot markets are:6

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16        43.    The prices on the two California spot markets are influenced by
17 gasoline prices on the New York Mercantile Exchange (“NYMEX”). Prices on the

18 NYMEX are determined in a centralized market: there are typically thousands of

19 gasoline trades on the NYMEX amounting to billions of gallons on every trading

20 day. Further, all transactions on the NYMEX are publicly reported, so pricing is

21 transparent to market participants.7

22        44.    NYMEX prices generally reflect large-scale national and international
23 factors, while the California spot markets react to the NYMEX price as well as

24 regional and local supply and demand conditions.8 In many California spot market

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      See https://www.opisnet.com/product/pricing/spot/.
     7
      See http://blog.opisnet.com/spot-fuel-markets-made-simple.
28   8
      See http://blog.opisnet.com/spot-fuel-markets-made-simple.
      See http://blog.opisnet.com/pricing-101-your-basic-guide-to-pricing-gasoline-
   and-diesel.
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 1 transactions, the buyer and the seller negotiate only the basis, and the final price is

 2 determined by adding the basis to the NYMEX price.9

 3         45.   “Rack” or “Wholesale” purchases are made along a fuel distribution
 4 system—usually at pipeline terminals. Transactions are conducted in approximately

 5 8,000 gallon increments, the amount of fuel in a typical fuel truck. Companies that

 6 re-sell fuel (jobbers) as well as retailers or end users (e.g., trucking companies) pull

 7 fuel from the wholesale racks. Wholesale rack prices move up or down each day at

 8 6 p.m. Eastern Time, based on the movements of the spot market.10

 9         46.   Wholesale terminals are located throughout the State of California and
10 are located in the following geographically dispersed cities: Bakersfield, Barstow,

11 Brisbane, Carson, Chico, Colton, Eureka, Fremont, Fresno, Imperial, Los Angeles

12 (three locations), Montebello, Orange, Richmond, Sacramento, San Diego, San

13 Francisco, San Jose, Stockton, Van Nuys, Wilmington.11

14         47.   This is visually depicted in the following chart prepared by the
15 California    Energy Commission’s Petroleum Market Advisory Committee
16 (“PMAC”):12

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        See http://blog.opisnet.com/spot-fuel-markets-made-simple.
     11
        See https://www.opisnet.com/product/pricing/rack/.
28   12
        See https://www.opisnet.com/about/rack-pricing-coverage-city/.
        See https://ww2.energy.ca.gov/business_meetings/2017_packets/2017-09-
   13/Item_01a.pdf, at p. 15.
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12         48.    There are two common grades of CARBOB gasoline that are traded in
13 the San Francisco and Los Angeles spot markets. Regular CARBOB (“Regular”) is

14 the most commonly traded grade of gasoline. Premium CARBOB (“Premium”) is

15 traded with far less frequency than Regular. Premium trades at a higher price than

16 Regular.      Alkylate is a high-quality gasoline blending component that can be
17 combined with other blendstocks to create Regular and Premium gasoline. Alkylates

18 are critical to achieving the high octane ratings of Premium gasoline advertised for
                                 13
19 sale at retail in California.

20         49.    Unlike the NYMEX, spot market trades in California for both Regular
21 and Premium are traded through non-public transactions, sometimes called over-the-

22 counter (“OTC”) trades. These OTC transactions do not occur on a centralized open

23 exchange like the NYMEX, so prices on the California spot markets are not

24

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26   13
     See https://www.eia.gov/todayinenergy/detail.php?id=9971. Approximately 85%
27 of gasoline sold at retail is “regular” gasoline. Another 10% is “premium” gasoline.
   The remainder is called “midgrade” gasoline. “[R]efineries do not produce a
28 midgrade gasoline blend; instead, the middle-octane option is blended at the fuel
   pump from a given gas station’s supply of regular and premium gas.” See
   https://blog.consumerguide.com/what-is-midgrade-gas/.
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 1 immediately public. Instead, refiners and traders rely on price-reporting services that

 2 report spot market prices from sources that participate in the market, such as traders,

 3 refiners, and brokers.14

 4         50.    The Oil Price Information Service, LLC (“OPIS”) is the most widely
 5 used reporting service in California. OPIS is a subscription service that publishes a

 6 daily OPIS West Coast Spot Market Report (the “Spot Market Report”), which is

 7 the industry pricing benchmark used by both buyers and sellers in California.

 8 Subscribers to OPIS get the Spot Market Report and can also receive market updates

 9 from OPIS throughout the day that include reported deals and other industry news.
10         51.    The Spot Market Report includes, among other gasoline products, the
11 prices for Regular and Premium gasoline contracts for prompt (i.e., near term)

12 delivery in Southern California and in Northern California. The Spot Market Report

13 also contains forward prices for Regular and Premium gasoline.

14         52.    On a daily basis, there are usually many more Regular trades than
15 Premium trades listed in the Spot Market Report. For example, there could be five,

16 ten, fifteen, or more Regular trades reported on one day compared to one or no

17 Premium trades. Because trading in Premium is less common than Regular, a single

18 Premium trade that is reported to OPIS tends to have a larger impact on the spot

19 market price of gasoline than a single trade of Regular.

20         53.    Furthermore, as OPIS explains on its website, “[t]he spot market is a
21 critical link in the price influence chain because it sets the basis for cost-plus formula

22 deals between suppliers and end users. It also forms the rationale for wholesale fuel

23 price moves every day at 6 p.m. at wholesale racks across the U.S.—which then

24 impacts price increases or decreases at the retail pump”.15

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27    See https://www.opisnet.com/about/methodology/#wholesale-rack-pricing
   (“OPIS market assessors follow the marketplace throughout a full day of trading
28 by constant communication with designated and approved traders and brokers to
   discover
   15
            done deals, bids and offers.”).
      See https://www.opisnet.com/product/pricing/spot/.
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 1           54.   OPIS also visually depicts the “price influence chain” between spot
 2 prices and the retail prices paid by California consumers:16

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11           55.   During the relevant period, Vitol was an active participant in trading
12 gasoline in California. Vitol bought and sold spot market contracts for various types

13 of fuel products, including Regular and Premium.

14           56.   Vitol imported gasoline and gasoline blending components (such as
15 alkylate) into California.

16           57.   Vitol employee Brad Lucas (“Lucas”) held the title “USWC Trader.”
17 Lucas was the primary trader at Vitol with responsibility for trading gasoline and

18 gasoline blending components that were delivered via pipeline within California.

19           58.   Lucas reported to John Addison (“Addison”), a Vitol executive who in
20 turn reported to the President of Vitol Americas. In addition to supervising Lucas,

21 Addison also had trading responsibility that included trading gasoline and gasoline

22 blending components that were primarily delivered via marine vessels to locations

23 in the U.S. West Coast, including California.

24           59.   During the relevant period, SK was an active participant in trading
25 gasoline in California. SK Energy bought and sold spot market contracts for various

26 types of fuel products, including Regular and Premium.
27

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     16
          See https://www.opisnet.com/product/pricing/spot/.
     CLASS ACTION COMPLAINT                                                     14
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 1        60.    SK imported gasoline and gasoline blending components (such as
 2 alkylate) into California.

 3        61.    SK Energy employee David Niemann (“Niemann”) was the senior
 4 trader responsible for executing trades on the U.S. West Coast, including California.

 5 Another SK Energy employee, Shelly Mohammed (“Mohammed”), held the role of

 6 gasoline scheduler and was Niemann’s subordinate.

 7        62.    SK Energy functioned as the California trading arm of SK Trading.
 8 While Niemann and Mohammed were nominally employees of Defendant SK

 9 Energy, SK’s U.S. West Coast Trading Operation was conducted within the
10 continuous and pervasive control and supervision of SK Trading and its subsidiaries,

11 and SK Trading also specifically reviewed and approved key decisions to coordinate

12 trading activities with Vitol.

13 C.     FEDERAL AND STATE LAW PROHIBITS FRAUDULENT AND
          DECEPTIVE COMMODITY TRADING
14

15        63.    Spot market trading of gasoline must comply with California’s
16 commodities fraud statute. See Cal. Corp. Code § 29504. Under this statute it is

17 unlawful to engage in certain fraudulent acts when buying or selling commodity

18 contracts. See Corp. Code § 29536, subds. (a), (b), (c), (d).

19        64.    Under section 29536(c) it is unlawful to “[t]o willfully engage in any
20 transaction, act, practice, or course of business which operates or would operate as

21 a fraud or deceit upon any persons.” See Corp. Code § 29536(c).

22        65.    In addition, the federal Commodity Exchange Act (“CEA”) makes
23 unlawful certain types of “[p]rohibited transactions.” See 7 U.S.C. § 6c. More

24 specifically, the CEA prohibits any transaction that “is, of the character of, or

25 commonly known to the trade as, a ‘wash sale’ or ‘accommodation trade.’” See 7

26 U.S.C. § 6c(a)(2)(A)(i).
27

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     CLASS ACTION COMPLAINT                                                    15
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 1           66.   The CEA also prohibits a transaction that “is used to cause any price to
 2 be replied, registered, or recorded that is not a true and bona fide price.” See 7 U.S.C.

 3 § 6c(a)(2)(B).

 4 D.        DEFENDANTS’ UNLAWFUL CONDUCT
 5           67.   SK Energy hired Niemann in August 2014 and Niemann immediately
 6 began trading gasoline contracts on the California spot market. Before being hired

 7 by SK, Niemann held a similar role at Vitol for approximately ten years. Niemann

 8 and Lucas worked together at Vitol, and they maintained contact after Niemann was

 9 hired by SK Energy.           Throughout the Class period, Niemann and Lucas
10 communicated with each other by instant message, emails, telephone calls, and

11 during in-person meetings, dinners, and drinks.

12           68.   “Fluid catalytic cracking” or “FCC” is an important part of refining
13 crude oil. A FCC unit is a secondary refining unit that produces high-value products

14 like alkylate.17

15           69.   The Torrance Refinery’s FCC unit produced a significant portion of all
16 the high-octane alkylate produced in California.        The alkylate produced at the
17 Torrance Refinery was a key gasoline blending component for Premium gasoline

18 produced in California.

19           70.   As noted above, during the morning of February 18, 2015, there was a
20 large explosion at the Torrance Refinery. The blast occurred in a part of the FCC

21 unit.

22           71.   The Torrance Refinery was forced to shut down its FCC and reduced
23 production of gasoline products, including alkylate, as repair efforts commenced.

24 As a result of this unplanned outage at the Torrance Refinery—which did not end

25 until approximately June 2016—ExxonMobil needed to replace a significant amount

26 of lost alkylate production in California.
27

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     17
          See https://www.eia.gov/todayinenergy/detail.php?id=9150.
     CLASS ACTION COMPLAINT                                                       16
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 1          72.   Beginning at least as early as late February 2015, Vitol and SK
 2 Energy—through Lucas, Niemann, and others—reached agreements with each other

 3 and with third parties to raise, fix, and otherwise tamper with the price of refined

 4 gasoline in California by manipulating OPIS-reported prices in order to realize

 5 supra-competitive profits while limiting bona fide market risk. The explosion at the

 6 Torrance Refinery would act as cover for their illegal efforts to increase the price of

 7 gasoline on the California spot markets.

 8          73.   Vitol and SK Energy specifically engaged in trades directly or
 9 indirectly between them that were reported to OPIS for the purpose of inflating the
10 OPIS-published price for Regular and Premium gasoline. At times they used the

11 services of an intermediary broker, and sometimes they transacted directly with each

12 other.

13          74.   This conduct was designed to create the illusion of a supply/demand
14 imbalance for refined gasoline and to drive spot market prices to artificial highs

15 during strategic pricing windows.

16          75.   Many of these transactions were “leveraged” because they involved
17 taking losses on the purchase of smaller quantities of gasoline to increase the profits

18 on the sale of larger quantities of gasoline or alkylate.

19          76.   For example, Defendants traded Regular gasoline contracts directly or
20 indirectly with each other at artificially high prices early in the trading day so that

21 OPIS would report artificially inflated purchase price to other market participants.

22 An early purchase during a strategic trading window at an inflated price signals a

23 supply/demand imbalance to the market and thereby artificially inflates spot market

24 prices.

25          77.   Defendants also executed market-spiking trades for Premium gasoline
26 directly or indirectly with each other and third parties, and then reported these trades
27 to OPIS. Because Premium gasoline trades were rare—often only zero or one of

28


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 1 these trades were reported on any given day—these transactions had a significant

 2 impact on the spot market price.

 3        78.    Defendants engaged in market-spiking spot trades for Premium
 4 gasoline to increase the OPIS-reported price for Premium during strategic pricing

 5 windows for large sales of alkylates. While alkylate is a key blending component

 6 for Premium gasoline, alkylate is not a separately reported commodity on

 7 California’s spot markets. Consequently, large price contracts for alkylate were most

 8 commonly tied, with a small differential, to the OPIS-reported spot price for

 9 Premium gasoline during the associated pricing window.
10        79.    Defendants’ manipulation of spot prices for Regular gasoline also
11 affected alkylate contract prices because spot prices for Regular and Premium

12 gasoline often move in tandem.

13        80.    Therefore, to realize supra-competitive profits on alkylate contracts,
14 Vitol and SK worked together to inflate the spot price of Regular and Premium

15 gasoline during key pricing windows, and then coordinated their importation of

16 alkylate into California at these supra-competitive prices.

17        81.    Defendants also executed secondary offsetting or “wash” trades to hide
18 or disguise their conduct, to limit or eliminate bona fide market risk on the reported

19 trades, and to share their anticompetitive profits with each other. Defendants

20 withheld disclosure from OPIS of these “wash” trades between them, or otherwise

21 disguised them by transacting them through brokers or other third parties. These

22 secondary trades were executed at the same time, before, or after the OPIS-reported

23 trades.

24        82.    The CME defines a “wash trade” as follows: “A wash trade is a form
25 of fictitious trade in which a transaction or a series of transactions give the

26 appearance that authentic purchases and sales have been made, but where the trades
27 have been entered without the intent to take a bona fide market position or without

28


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 1 the intent to execute bona fide transactions subject to market risk or price

 2 competition.”18

 3         83.   By moving in the opposite direction of the reported trade, the secondary
 4 transaction ensured that there was little or no market risk associated with

 5 Defendants’ overall conduct.

 6         84.   Defendants called their illegal agreements “joint ventures” or “JVs”,
 7 but they were nothing more than secret agreements between purported competitors

 8 to artificially increase spot market prices for Regular and Premium gasoline in

 9 California. These agreements started out as verbal agreements only, but were later
10 referenced in various writings. During the Class period, Defendants’ illegal conduct

11 generated millions of dollars of profits for them per month, and Lucas and Neimann

12 also financially benefitted as a result of their conduct.

13         85.   The price-spikes caused by Defendants’ illegal conduct were not
14 consistent with prior actual or perceived supply disruptions within California. The

15 following chart, published by Severin Borenstein, chair of the PMAC—which was

16 formed to investigate gasoline pricing in California between late 2014 and the end

17 of 2016—depicts the historically unprecedented change in gasoline pricing in

18 California relative to the United States that was caused by—and lingered—as a result

19 of Defendants’ conduct:19

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27   18
      See https://www.cmegroup.com/education/courses/market-regulation/wash-
   trades/definition-of-a-wash-trade.html
28 19                                     (emphasis in original).
      See https://energyathaas.wordpress.com/2018/02/26/californias-mystery-
   gasoline-surcharge-continues/.
     CLASS ACTION COMPLAINT                                                     19
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           86.    Nor were the spot market price spikes explained by any actual decrease
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     in gasoline production following the Torrance Refinery explosion. As the PMAC’s
15
     Final Report explained, “Energy Commission staff noted that while the ESP tower
16
     and FCCU of the refinery remained off-line until June 2016, the refinery could still
17
     create finished gasoline from processed blending components, some of which may
18
     be imported.”20
19
           87.    In fact, the PMAC demonstrated that overall gasoline production in
20
     California was well within the historical five year production band immediately
21
     following the Torrance Refinery explosion and for the remainder of 2015, as
22
     depicted in the following chart:21
23

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     20
28      https://ww2.energy.ca.gov/business_meetings/2017_packets/2017-09-
     13/Item_01a.pdf,
     21
                      at p. 12.
        Id.
     CLASS ACTION COMPLAINT                                                     20
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           88.      The following chart demonstrates that the Defendants’ spot price
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     manipulation, which was in full swing not later than February 2015, impacted
16
     CARBOB spot prices in both San Francisco and Los Angeles, whose markets move
17
     in tandem:22
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       See https://www.energy.ca.gov/sites/default/files/2019-
     05/Data_on_California_Gasoline_Price_Margins.pdf, at p. 5.
     CLASS ACTION COMPLAINT                                                 21
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15         89.   Spot price manipulation increases the price of gasoline at all retailer
16 distribution outlets, whether they supply branded or unbranded gasoline (i.e. gas sold

17 by retail discounters like Arco, Safeway, and Costco).          In fact, the PMAC
18 demonstrated that prices for branded and unbranded gasoline move in tandem, with

19 branded pricing slightly higher than unbranded pricing.23

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28      See https://ww2.energy.ca.gov/business_meetings/2017_packets/2017-09-
     13/Item_01a.pdf at
     p. 29.
     CLASS ACTION COMPLAINT                                                     22
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           90.   No retailer in the State of California was spared cost increases caused

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     by Defendants’ misconduct, and empirical research demonstrates what industry

14
     participants have long known—that upstream wholesale price increases are quickly

15
     passed on to consumers, but that price declines lag.          Jeffery Karrenbock

16
     (“Karrenbock”), an economist at the Federal Reserve Bank of St. Louis visually

17
     depicted this phenomenon in the following chart:24

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       See Jeffrey D. Karrenbrock, “The behavior of retail gasoline prices: symmetric or
     not?” Federal Reserve Bank of St. Louis Review, July/August 1991, pp. 19–29.
     CLASS ACTION COMPLAINT                                                    23
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16         91.   Karrenbock demonstrated econometrically that while wholesale price
17 increases were immediately passed through to retail gasoline price changes,

18 wholesale price declines lagged. He graphed his results as follows:25

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       See Jeffrey D. Karrenbrock, “The behavior of retail gasoline prices: symmetric or
     not?” Federal Reserve Bank of St. Louis Review, July/August 1991, pp. 19–29.
     CLASS ACTION COMPLAINT                                                    24
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22        92.   Karrenbock noted that his findings are consistent with the comments of
23 industry participants, as the following quotes demonstrate:

24              “Retail (gasoline) prices go up much faster than they come
25              down.”— a spokesman for the Automobile Association of
26              America. The Wall Street Journal, (Solomon) August 9,
27              1990.
28


     CLASS ACTION COMPLAINT                                                  25
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 1                “Pump prices are fast to respond to rising prices but slower
 2                to fall when crude prices fall.”—Antonio Szabo, oil
 3                consultant with Bonner & Moore.           The Wall Street
 4                Journal, (Business Bulletin) August 3, 1989.
 5                “Whenever oil prices fall, there is always this stickiness in
 6                gasoline prices on the way down. You never see this
 7                stickiness on the way up.”—Ed Rothschild, energy expert
 8                at Citizen Action. New York Times, (Wald) July 2, 1990.
 9                “When crude prices go up, product prices tend to rise with
10                crude prices. But when crude prices go down, product
11                prices tend to lag— they go down slowly.”—John Hilton,
12                oil industry analyst for Argus Research Corp. St Louis
13                Post-Dispatch, (Crudele) June 19, 1990. 26
14         93.    And, as noted above, the strong connection between wholesale and
15 retail gasoline prices continues today. As OPIS explains on its website, “[t]he spot

16 market is a critical link in the price influence chain because it sets the basis for cost-

17 plus formula deals between suppliers and end users. It also forms the rationale for

18 wholesale fuel price moves every day at 6 p.m. at wholesale racks across the U.S.—

19 which then impacts price increases or decreases at the retail pump”.27

20         94.    Defendants’ repeated manipulation of the spot market price caused
21 retail gasoline prices to be higher throughout the class period.

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      See Jeffrey D. Karrenbrock, “The behavior of retail gasoline prices: symmetric or
     26

   not?”
27 27     Federal Reserve Bank of St. Louis Review, July/August 1991, pp. 19–29.
      See https://www.opisnet.com/product/pricing/spot/ (emphasis added). See also
28 https://stillwaterassociates.com/gasoline-retail-margin-quick-to-rise-slow-to-drop/
   (“We note that retail prices continue to respond quickly to increases in the spot price,
   but they respond more slowly to decreases in the spot price.”).
     CLASS ACTION COMPLAINT                                                        26
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 1        95.    Defendants’ gains came at the expense of consumers throughout
 2 California, who use 40 million gallons of gasoline per day. California is the third

 3 largest market in the world behind the U.S. as a whole and China.28

 4        96.    In fact, PMAC concluded its study of the California gasoline market as
 5 follows: “Californians continue to pay more than $3 billion per year for gasoline

 6 above the levels that could be explained by standard cost analysis. Whether the

 7 cause of these excess payments is insufficient competition or logistical impediments,

 8 or some combination of these factors, the magnitude of the loss justifies a very

 9 significant effort to diagnose its causes and remedy the situation.”29
10        97.    As demonstrated by the filing of the California Attorney General’s
11 Complaint against the Defendants on May 4, 2020, Senior Assistant Attorney

12 General Kathleen Foote and her team of antitrust attorneys were able to continue

13 with a non-public investigation into the causes of gasoline prices following the

14 Torrance Refinery explosion and uncovered secret evidence that Defendants had

15 illegally colluded with each other and third parties to increase the price of gasoline

16 to levels above what competition would have allowed.

17        98.    The affirmative conduct underlying the illegal conduct alleged herein
18 likely ended at or around the time that Niemann left SK Energy in late 2016.

19              VII. TOLLING OF THE STATUTES OF LIMITATIONS
20        99.    Class member purchases of gasoline within four years prior to the filing
21 of this Complaint are not barred by the applicable four-year statute of limitations and

22 are not required to be tolled in order to be actionable.

23        100. Plaintiff and the Class did not know of Defendants’ illegal conduct until
24 the California Attorney General filed its complaint against Defendants on May 4,

25

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27   28
      See https://www.forbes.com/sites/judeclemente/2015/03/22/why-are-californias-
   gasoline-prices-always-higher/#2cfa0b4321ff.
28 29
      See https://ww2.energy.ca.gov/business_meetings/2017_packets/2017-09-
   13/Item_01a.pdf, at p. 33.
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 1 2020. Further, Plaintiff and the Class had no reason to believe that they paid prices

 2 for gasoline that were affected by Defendants’ illegal conduct prior to that date, and

 3 thus had no duty to investigate the claims set forth in this Complaint until May 4,

 4 2020. Defendants’ secret joint venture agreements were inherently self-concealing.

 5        101. Additionally, Defendants engaged in affirmative conduct that was
 6 designed to mislead and conceal their illegal conduct. For example, Vitol’s Lucas

 7 affirmatively mislead the California Energy Commission (“CEC”) about the true

 8 cause of high prices for gasoline that followed the Torrance Refinery explosion in

 9 February 2015. On August 16, 2016, he told the PMAC, including Kathleen Foote,
10 Senior Assistant Attorney General and Chief of the Antitrust Division, that high

11 gasoline prices were caused by a lack of transparency by ExxonMobil, rather than

12 Defendants’ illegal manipulation of spot market prices. Lucas stated:

13               So you know, last year we brought in quite a few cargos
14               into L.A., both alkaloid (phonetic) and finish CARBOB
15               that went through Kinder Morgan’s system and sold direct
16               to Exxon and some other refiners. You know, one of the
17               big things that this whole conversation has entailed is
18               about the high prices. One of the reasons why, in my
19               opinion, was the lack of transparency with what was going
20               on with Torrance. Because if you remember when it first
21               blew up back in February, there was like an eternal rolling
22               one-month period where they were going to get back up
23               and running. And they kept saying next month, next
24               month, next month. So the trading companies in general,
25               it takes four to five weeks to ship a cargo out, if Exxon is
26               coming back up they’re not going to ship into closed ARB.
27               So because there was no real timeline of when Exxon was
28               going to come back up and running, we would generally

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 1                not—you don’t put cargos on the water and ship them to
 2                the West Coast just on a punt, basically, hoping that you
 3                can sell them when they get there. That’s what happened
 4                with that one cargo that was done by another trading
 5                company who sent it out there, at which point in time the
 6                market had collapsed, and so he was unable to sell it, and
 7                so he sailed it away again. So that’s what happened with
 8                that one. So if there was more transparency with what was
 9                going on with refinery maintenance, when it was going to
10                come back up, it would have allowed us to see if it was
11                more—if we were going to be able to land these cargos
12                and actually into a competitive market. If Exxon is back
13                up and running the market is going to fall dramatically. So
14                basically kind of that lack of information kept cargos at
15                bay. There were still a lot shipped into the West Coast,
16                but not as many as could have been or would have been
17                done. If we had actually known that Exxon was going to
18                be down for over a year there would have been a much
19                bigger import play over that time frame.30
20         102. Moreover Defendants repeatedly misled OPIS about the true nature of
21 their trading activities by reporting artificially high spot trades directly or indirectly

22 between them, but concealing the existence of offsetting wash trades that reduced or

23 effectively limited any market risk in the primary trade.

24         103. Additionally, the California Attorney General, as representative of the
25 people of the State of California, obtained tolling agreements with Defendants that

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28      See https://www.energy.ca.gov/data-reports/planning-and-forecasting/
     petroleum-market-advisory-committee, August 16, 2016 Meeting Transcript at pp.
     129:24-131:10.
     CLASS ACTION COMPLAINT                                                        29
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 1 are applicable to the claims of Plaintiff and the Class, in whole or in part. These

 2 tolling agreements have effective dates of August 3, 2018, and March 8, 2019,

 3 respectively.     Defendants and the California Attorney General subsequently
 4 executed additional tolling agreements to extend the termination dates of the tolling

 5 periods specified in the original agreements.       These termination dates have not
 6 passed as of the filing of this Complaint.

 7         104. Accordingly, to the extent that tolling is necessary to advance some or
 8 all of the claims alleged by Plaintiff and the Class, the four year statutes of

 9 limitations governing claims under the Sherman Act, the Cartwright Act, and the
10 UCL were tolled at least until May 4, 2020 pursuant to the injury-discovery rule, the

11 doctrine of fraudulent concealment, and by virtue of express tolling agreements

12 between the California Attorney General and Defendants.

13                             VIII. CLAIMS FOR RELIEF
14                                     COUNT ONE
                               Violation of the Sherman Act
15                        (15 U.S.C. § 1—Injunctive Relief Only)
                                 (Against all Defendants)
16
           105. Plaintiff hereby repeats and incorporates by reference each preceding
17
     paragraphs as though fully set forth herein.
18
           106. Defendants entered into and engaged in a continuing combination,
19
     conspiracy or agreement to unreasonably restrain trade or commerce in violation of
20
     Section 1 of the Sherman Act (15 U.S.C. § 1) by artificially restraining competition
21
     with respect to the price of gasoline within the State of California.
22
           107. Defendants’ activities constitute a per se violation of Sections 1 of the
23
     Sherman Act.
24
           108. Defendants’ anticompetitive and unlawful conduct has proximately
25
     caused injury to Plaintiff and members of the Class by restraining competition and
26
     thereby raising, maintaining and/or stabilizing the price of gasoline at levels above
27
     what would have occurred if competition had prevailed. For this conduct, Plaintiff
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 1 and members of the Class are entitled to entitled to injunctive relief pursuant to 15

 2 U.S.C. § 26.
                                    COUNT TWO
 3                          Violation of the Cartwright Act
            (California Business and Professions Code section 16720 et seq.)
 4                             (Against All Defendants)
 5        109. Plaintiff incorporates by reference and realleges the preceding
 6 allegations as though fully set forth herein.

 7        110. Defendants entered into and engaged in a continuing combination,
 8 conspiracy or agreement to unreasonably restrain trade or commerce in violation of

 9 California Business and Professions Code § 16720 et seq. by artificially restraining
10 competition with respect to the price of gasoline within the State of California.

11        111. Defendants’ activities constitute a per se violation of the Cartwright
12 Act.

13        112. Defendants’ anticompetitive and unlawful conduct has proximately
14 caused injury to Plaintiff and members of the Class by restraining competition and

15 thereby raising, maintaining and/or stabilizing the price of gasoline at levels above

16 what would have occurred if competition had prevailed. For this conduct, Plaintiff

17 and members of the Class are entitled to entitled to treble damages and injunctive

18 relief pursuant to California Business and Professions Code section 16750(a).

19                                  COUNT THREE
                        Violation of the Unfair Competition Law
20          (California Business and Professions Code section 17200 et seq.)
                                (Against All Defendants)
21

22        113. Plaintiff incorporates by reference and realleges the preceding
23 allegations as though fully set forth herein.

24        114. Defendants committed acts of unfair competition, as described above,
25 in violation of the UCL.

26        115. Defendants’ conduct constitutes an “unlawful” business practice within
27 the meaning of the UCL, and includes, without limitation, the following:

28            • Violating the Sherman and Cartwright Acts, as set forth above;


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 1            • Engaging in wash sales and otherwise manipulating the benchmark
 2                prices reported on the California gasoline spot market in violation of
 3                California Corporations Code §§ 29535, 29536, 29537, 29538) and the
 4                Commodity Exchange Act, 7 U.S.C. § 1 et seq.
 5         116. Defendants’ conduct separately constitutes an “unfair” business
 6 practice within the meaning of the UCL because Defendants’ practices have caused

 7 and are “likely to cause substantial injury” to the Plaintiff and the members of the

 8 Class that is not “reasonably avoidable” by them.

 9         117. Defendants’ conduct, as alleged herein, is and was contrary to public
10 policy, immoral, unethical, oppressive, unscrupulous and/or substantially injurious

11 to consumers. Any purported benefits arising out of Defendants’ conduct do not

12 outweigh the harms caused to the victims of Defendants’ conduct.

13         118. Defendants’ conduct is also “unfair” because it is contrary to numerous
14 legislatively-declared policies, as set forth in the Sherman Act, the Cartwright Act,

15 the California Corporations Code and in the Commodities Exchange Act. Here,

16 Defendants’ conduct not only violates the letter of the law, but it also contravenes

17 the spirit and purpose of each of those statutes. The conduct threatens an incipient

18 violation of each of those laws and has both an actual and a threatened impact on

19 competition.

20         119. Defendants’ conduct, as described above, also constitutes an
21 “fraudulent” business practice within the meaning of the UCL. Defendants’ trading

22 activity on the California gasoline spot market fraudulently raised the price of

23 gasoline above the competitive level through fictitious “wash” trades and other

24 manipulative conduct that did not shift economic risk for the transaction to an arm’s

25 length counterparty. This conduct was designed to deceive—and did deceive—other

26 market participants about the true supply and demand situation for gasoline in order
27 to artificially increase the price of gasoline in California.

28


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 1        120. Plaintiff and the members of the Class have suffered injury in fact and
 2 have lost money as a result of Defendants’ violations of the UCL in that they paid

 3 more for gasoline than they would have paid in a competitive market. They are

 4 therefore entitled to restitution and injunctive relief pursuant to California Business

 5 and Professions Code §17203.

 6                             IX.   PRAYER FOR RELIEF
 7     WHEREFORE, Plaintiff requests that the Court enter judgment on its behalf and
 8 on behalf of the Class defined herein, by adjudging and decreeing that:

 9        A.     This action may proceed as a class action, with Plaintiff serving as the
10               Class Representative, and with Plaintiff’s counsel as Class Counsel;
11        B.     Defendants have contracted, combined and conspired in violation of the
12               Sherman Act and Cartwright Act;
13        C.     Defendants have violated the UCL by engaging in conduct that
14               constitutes unlawful, unfair and fraudulent business practices;
15        D.     Plaintiff and the Class have been injured in their business and property
16               as a result of Defendants’ violations;
17        E.     Plaintiff and the Class are entitled to recover three-fold damages and/or
18               restitution, and that a joint and several judgment in favor of Plaintiff
19               and the Class be entered against Defendants in an amount subject to
20               proof at trial;
21        F.     Plaintiff and the Class are entitled to pre-judgment and post-judgment
22               interest on the damages awarded them, and that such interest be
23               awarded at the highest legal rate;
24        G.     Plaintiff and the Class are entitled to equitable relief appropriate to
25               remedy Defendants’ past and ongoing restraint of trade, including:
26               i.     A judicial determination declaring the rights of Plaintiff and the
27                      Class, and the corresponding responsibilities of Defendants; and
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     CLASS ACTION COMPLAINT                                                        33
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 1               ii.    Issuance of a permanent injunction against Defendants and their
 2                      parents, subsidiaries, affiliates, successors, transferees, assignees
 3                      and the respective officers, directors, partners, agents, and
 4                      employees thereof and all other persons acting or claiming to act
 5                      on their behalf from violations of the law as alleged herein.
 6         H.    Defendants are to be jointly and severally responsible financially for
 7               the costs and expenses of a Court-approved notice program through
 8               post and media designed to give immediate notification to the Class;
 9         I.    Plaintiff and the Class recover their costs of this suit, including
10               reasonable attorneys’ fees as provided by law; and
11         J.    Plaintiff and the Class receive such other or further relief as may be just
12               and proper.
13                             JURY TRIAL DEMANDED
14         Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial
15 by jury of all the claims asserted in this Complaint that are so triable.

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     DATED: May 11, 2020                 Respectfully submitted,
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                                         COTCHETT, PITRE & MCCARTHY, LLP
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     CLASS ACTION COMPLAINT                                               35
